Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 1 of 7

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUl\/lBlA

MICHAEL QUICK
747 Cypress Gardens Blvd_
Winter Haven, FL 33 880,

Plaintiff,
v.

UNITED STATES DEPARTl\/IENT OF
COMMERCE, NATIONAL INSTITUTE
OF STANDARDS AND TECHNOLOGY
100 Bureau Drive, Stop 1000
Gaithersburg, MD 20899-1000,

Defendant.

\-/\-¢.»/\_/\¢_/\._/\_/\\_/\_/\_/\_/\_/\_/\_/\_J\_/\¢/

 

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

I. INTRODUCTION
l. Plaintiff Michael Quicl< (hereinafter “Plaintiff”) brings this action to redress
violation of the Freedom of Information Act (hereinafter "FOIA"), 5 U.S.C. § 5 52 er. seq.,
by Defendant United States Department of Commerce, National Institute of Standards and
Technology, in failing to provide Plaintiff With a final response to his Novernber 13, 2003
FOIA request, and failing to provide agency records responsive to Plaintiff FOIA request,
pertaining to the raw data used for simulation models produced by the agency concerning the

collapse of the World Trade Center Building 7, on Septernber l 1, 2001.

COMPLAINT - l -

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 2 of 7

II. JURISDICTION
2. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)
(FOIA citizen suit provision) and 28 U.S.C. § 1331 (federal question).
III. VENUE
3. Venue in this Court is proper pursuant to 5 U.S.C. § 552(a)(4)(B).
IV. PARTIES

4. Plaintiff Michael Quicl< is an individual Who, at all times relevant herein, has
resided in Poll< County, Florida.

5. Det`endant United States Department ofConnneree, National Institute of Standards
and Technology is an agency ot` the United States, and as such, is subject to FOIA pursuant
to 5 U.S.C. § 552(£).

V. LEGAL FRAMEWORK OF FOIA

6. FOIA requires, inter alia, that all federal agencies must promptly provide
copies of all non-exempt agency records to those persons Who make a request for records
that reasonably describes the nature of the records sought, and Which conforms With
agency regulations and procedures in requesting such records 5 U.S.C. § 552(a)(3)(A).

7. FOIA requires federal agencies to make a final determination on all FOIA
requests that it receives Within twenty days (excepting Saturdays, Sundays, and legal
public holidays) after the receipt of such request, unless the agency expressly provides

notice to the requester of “unusual circumstances” meriting additional time for

COMPLAINT - 2 -

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 3 of 7

responding to a FOIA request. 5 U.S.C. § 552(a)(6)(A)(I).

8. FOIA also requires federal agencies to make a final determination on FOIA
administrative appeals that it receives within twenty days (excepting Saturdays, Sundays,
and legal public holidays) after the receipt of such appeal, unless the agency expressly
provides notice to the requester of “unusual circumstances” meriting additional time for
responding to a FOIA request. 5 U.S.C. § 552(a)(6)(A)(ii).

9. FOIA expressly provides that a person shall be deemed to have constructively
exhausted their administrative remedies if the agency fails to comply with the applicable
time limitations provided by 5 U.S.C. § 552(a)(6)(A)(I) - (ii). See 5 U.S.C. §
552(a)(6)(C)..

10. FOIA provides that any person who has not been provided the records
requested pursuant to FOIA, after exhausting their administrative remedies, may seek
legal redress from the federal district court to “enj oin the agency from withholding
agency records and to order the production of any agency records improperly withheld
from the complainant.” 5 U.S.C. 552(a)(4)(B).

ll. Under FOIA, the federal agency has the burden to sustain its actions. 5 U.S.C.
§552(a)(4)(]3).

12. Pursuant to POIA, this Court may assess attorney fees and litigation costs

against the United States if Plaintiff prevails in this action. 5 U.S.C. § 552(a)(4)(E).

COMPLAINT - 3 -

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 4 of 7

VI. FACTUAL ALLEGATIONS FOR PLAINTIFF’S FOIA REQUEST CLAIM
l3. On or about November 13, 2008, Plaintiff sent a FOIA request to the United
States Department of Comrnerce, National lnstitute of Standards and Technology, seeking
agency records pertaining to the raw data used for simulation models produced by the
agency concerning the collapse of the World Trade Center Building 7 that occurred in
New York City on September ll, 2001.

14. On or about November 20, 2008, Catherine S. Fleteher, Freedom of
Inforrnation Act Officer for the United States Department of Commerce, National
lnstitute of Standards and Technology, sent Plaintiff a correspondence indicating that the
agency had received his November 13, 2008 FOIA request, and further indicating that this
FOIA request had been designated as FOIA Log No.09-ll by the agency.

l5. On or about }anuary 9, 2009, Catherine S. Fletcher, Freedom of lnformation
Act Officer for the United States Departrnent of Cornrnerce, National Institute of
Standards and Teclmology, sent Plaintiff a follow-up correspondence regarding his
November 13, 2008 FOIA request to the agency, indicating that Plaintiff should send the
agency the sum of $824.98 to cover the estimated cost for search and duplication for
responding to this FOlA request, and that upon receipt of this payment, the agency would
begin its search and duplication of responsive documents for this FOIA request

16. On or about February 23, 2009, Plaintiff sent Defendant a check in the sum of

$824.98 for the agency’s estimated cost for search and duplication in responding to his

coMPLAiNr _ 4 _

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 5 of 7

November 13, 2008 FOIA records request, per the agency on January 9, 2009
correspondence described in the paragraph above, and according to the bank records
received by Plaintiff, Defendant deposited this check on February 26, 2009, and on that
date, transferred said funds from the check that was sent by Plaintiff for that purpose
17. To date, Plaintiff has not received a final determination or a final response to
his November 13, 2008 FOIA request (FOIA Request No. 09-11) from the United States
Department of Commerce, National Institute of Standards and Technology, nor has
Plaintiff received any non-exempt agency records responsive to his November 13, 2008
FOIA request as of the date of filing this action. Furthermore, as of the date of filing this
action, Plaintiff has not received any information indicating an approximate date by
which he can expect to receive a final determination or a final response to his November
13, 2008 FOlA request, nor has Plaintiff received any information as to the approximate
date by which he can expect to receive the agency records responsive to this FOIA
request
VII. CLAIM FOR RELIEF
CLAIl\/f ONE - VIOLATION OF F()IA
FAILURE TO PROVIDE RECORDS RESPONSIVE TO PLAINTIFF’S
NOVEMBER 13, 2008 F()IA REQUEST

18. Plaintiff realleges, as if fully set forth herein, paragraphs l - 17 previously set

forth herein.

COMPLAINT - 5 -

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 6 of 7

19. Defendant has violated FOlA by failing to provide Plaintiff with all
responsive non-exempt records, and all non-exempt portions thereof, requested by
Plaintiff in his FOIA request of November l3, 2008, to the United States Department of
Commerce, National Institute of Standards and Technology.

20. By failing to provide Plaintiff with all records responsive to his FOIA request
of November l3, 2008, Defendant has denied Plaintiffs right to this information
provided by law under the Freedom of Information Act.

21. Unless enjoined by this Court, Defendant will continue to violate Plaintiff` s
legal rights to access the records that he has requested in Plaintiff’ s November 13, 2008
FOIA request to the United States Department of Commerce, National Institute of
Standards and Technology.

22. Plaintiff is directly and adversely affected and aggrieved by Det`endant’s
failure to provide all responsive records to his November l3, 2008 FOIA request to the
United States Department of Comnierce, National Institute of Standards and Technology.

23. Plaintiff has fully exhausted all administrative remedies required by FOIA
prior to seeking judicial review of the United States Department of Commerce, National
Institute of Standards and Technology’s failure to provide responsive records to his
November 13, 2008 FOIA request

24. Plaintiff has been required to expend costs and to obtain the services of a law

firm, consisting of attorneys, law clerks, and legal assistants, to prosecute this action

CoMPLAiNr _ 6 _

Case 1:09-cV-02064-CKK Document 1 Filed 11/03/09 Page 7 of 7

25. Plaintiff is entitled to reasonable costs of litigation, including attorney fees
pursuant to FOIA. 5 U.S.C. § 552(a)(4)(E).

REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter Judgment for
Plaintiff providing the following relief:

l. Declare that Defendant United States Department of Commerce, National
Institute of Standards and Technology has violated FOIA by failing to provide all non-
exempt records responsive to Plaintiff’s November 13, 2008 FOIA request

2. Direct by injunction that Defendant United States Department of Commerce,
National Institute of Standards and Technology immediately provide Plaintiff with all
non-exempt records responsive to Plaintiff’s November 13, 2008 FOIA request.

3. Grant Plaintiff’s costs of litigation, including reasonable attorney fees, as
provided by FOIA, 5 U.S.C. § 552(a)(4)(E); and,

4. Provide such other relief as the Court deems just and proper.

DA'i`ED: This 2nd day of November, 2009.

Respectfully submitted,

aj rata

Daniel J. Stotter (OSB # 911090) Wl' @@/5'
lRVlNG & STOTTER LLP

408 SW Monroe Ave., Ste. Ll63

Corvallis, Oregon 9740l

(541) 738-2601

dstotter@qwestoffice.net

Attorney for Plaintiff

coMPLAn\rr _ 7 _

